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A. I did not.
Q. Did anyone else in your office that you're
aware of?
A. I'm unaware of that.
MR. SCHMITZ: All right. I want to -- I'm
going to move to another exhibit, Exhibit J.
(Whereupon Exhibit J was marked
for identification.)
Q. (By Mr. Schmitz) Do you see this document?
A. Yes.
Q. Have you seen the cover sheet, the letter
12 before?

10

Page 96
A. They're posted by the Department Of
Personnel when there's a job opening.
Q. Okay. To what extent do you participate
in the process?
A. Sometimes none. And at other times, I
6 would give approval to post it. The majority of
7 times I'm not asked to give approval to post jobs.
8 QQ. Okay. Do you interview the candidates?
9 A. No, not unless they are directly reporting
10 to me or if a manager would like for me to interview
11 the candidate or I ask the manager to allow me to
12 interview the candidate.

wWwN —

25 positions are posted when there's a job opening?

13. A. I'm unaware if I have or have not. 13. Q. Under what circumstances would you ask the
14 Q. Allright. Are you aware that in 2018 14 manager to allow you to interview the candidate?
15 another version of these rules was issued? 15 A. IfI felt the manager needed my
16 A. Imay have. 16 assistance.
17. Q. Allright. As far as this document, did 17. = Q. In what way, like they were a new manager
18 you participate in any of the changes -- 18 or --
19 A, No. 19 A. Ifthey were a new manager, or if they
20 Q. -- that were made to it? No. 20 gave me a reason to believe that they would like my
21 Were you consulted in any way on 21 assistance in most areas of their job.
22. those changes? 22 Q. Do you know if there's a recruitment
23 A. I'mnot sure. 23 process for candidates either through your office or
24 Q. Ifyou could go back to the first page, 24 the Department of Personnel?
25 second paragraph. As you can see, this memorandum} 25 A. From time to time, there is as I
Page 95 Page 97

1 was written by Judy Armstrong. In the second 1 understand it an opportunity for a recruitment

2 paragraph, it talks about there's a need for an 2 process through the Office of Personnel.

3 update on the guidelines. Is that coming from you 3 Q. Is that something that you could request

4 or was that a determination made by Ms. Armstrong?| 4 to be done?

5 A. Idid not write this. 5 A. From time to time, my deputy comptroller

6  Q. Is she speaking on your behalf, or did you 6 has done that.

7 direct her to do this or did she do this on her own? 7  Q. Is that something that you've asked them

8 A. I didnot direct her to write this. 8 to do or do they do that on their own?

9 Q. Allright. Ifyou read the second full 9 A. Sometimes. The majority of the time, it
10 sentence where it says: Some of the most recent 10 has been the request of the deputy comptroller with
11 concerns echoed by managers involve employee's 11 making sure that I have knowledge of the request --
12 lateness to work, loud conversations, excessive 12. Q. Okay.
13 socializing in and around work areas. 13. A. -- to the personnel office.
14 Are these issues that you were aware 14 = Q. Do you know what those recruitment efforts
15 of were taking place around this time frame, 15 would entail?
16 November 8, 2018? 16 =A. It would entail using organizations that
17. —~A. Iwas told by employees prior to 2018 and 17 were widely known to help in the recruitment of
18 from time to time that there would be issues 18 certain professional positions.
19 regarding work ethic within the office. 19 QQ. What do you know about the civil service
20 Q. Allright. I'm going to jump forward a 20 position hiring system? Do you understand how
21 little bit. So I'm not going to reference that 21 candidates are selected for interview?
22 exhibit anymore. 22 A. No.
23 As far as the positions in your 23 = =Q. Okay. Do you know anything about
24 office, can you describe just briefly how those 24 positions -- some positions having a score base

25 system?

25 (Pages 94 - 97)

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1 A. Yes.

2 QQ. Okay. How does that work?

3. A. Iknow alittle about it. I don't know

4 the system in its entirety. What I know about it is

w

generally speaking that a City employee who already
6 has a job with the City would score higher than any
7 other applicant based on the fact that they were a
8 City employee.
9 Q. Do you know what other factors could
10 affect the score?
11 A. Experience in the job would affect the
12 score. If there was no experience, even though if
13 you're a City employee, you still get points for
14 being a City employee with or without experience in
15 the job. So in the experience that I have seen over
16 the years that I've worked as many years, the
17 majority of city employees end up at the top of the
18 list when they apply for a job.

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cases of hiring.

Q. What decisions would you give the final
approval?

A. It depends on the position. Those direct
reports to me, I would of course have the final
decision. And -- and I think that's about all that
I would have final decision in terms of hiring. And
that has been my practice. I think that other
offices have other practices or can have other
practices. But that has been my practice in my
office.

Q. Okay. What positions direct report to you
within your office?

A. It varies. But currently, the direct
reports are my administrative assistant, my deputy
comptroller, deputy comptroller for Finance &
Development, the staff support officer, the public
information officer, and I believe currently the

19 Q. So you mentioned that you have 19 contract compliance officer, but I'm not sure. At
20 participated in interviews. In terms of those who 20 one point, there was a direct report to me. But I
21 interview and then the selection that's made, who 21 believe in the last several months, that may have
22 makes that decision? Does that vary? 22 changed.
23. ~=A.«._=‘It varies. 23. =Q. So who's the current deputy comptroller
24 QQ. Okay. Who would make that decision for 24 right now?
25 front line nonmanagement or supervisory employees?} 25 A. Beverly Fitzsimmons.
Page 99 Page 101
1 A. Itvaries. 1 Q. Okay. How old is Bev?
2 Q. Would it be the manager that's going to be 2 A. How old is she?
3 supervising them or is there somebody that's 3. Q. Uh-huh.
4 generally designated to do that in the office? 4 A. I don't know her age. Approximately over
5 A. Itvaries. 5 50, possibly over 60. I do not know for sure.
6 QQ. So how does it vary? 6 Q. Okay. What is her race?
7 A. Sometimes it varies by function of the 7 A. White.
8 particular job function. And sometime it would be 8 QQ. Okay. And who is the deputy comptroller
9 the supervisor of that particular individual 9 for Finance & Development?
10 position that would make that determination. But if 10 A. LaTaunia Kenner.
11 that particular individual was not considered a high 11 Q. Allright. How old is she?
12 enough level of management, they would not make that 12 A. Approximately over SO.
13 final decision. It would be that supervisor of the 13. Q. What race is she?
14 person who the -- individual who's going to be hired 14 +A. Black.
15 would report to. It would not be that individual 15 Q. And you mentioned a staff support officer.
16 who they would report to. 16 Is there somebody that's currently in that position
17 Specifically or specific examples 17 or is there more than one?
18 would have to do with -- I guess I'm restating it. 18 A. There's two.
19 It really has to do with the function. And 19 Q. Okay. And who are they?
20 sometimes it also has to do with whether or not the 20 A. Jason Fletcher and Judy Armstrong.
21 individual was new or not. And those factor into 21 Q. Do they both have the same title of staff
22 who would make the final decision. 22 support officer?
23 = Q. Do you have to give final approval to it 23. =A. Yes.
24 or are they allowed to do that on their own? 24 QQ. Okay. Jason Fletcher, how old is he?
25 A. I don't have to give final decision in all 25 <A. Approximately over 30 or approximately

26 (Pages 98 - 101)

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1 over 40. 1 So I'm not sure. I may have been involved, and I
2 Q. Okay. And his race? 2 may not have been involved. But what I do know
3. A. White. 3 about that position is that she was No. | on the
4  Q. And how about Judy Armstrong, her age and | 4 list. And whether I selected her or if Beverly
5 race? 5 selected her, I don't know. But she was No. 1.
6 A. Approximately over 50, black. 6 Q. Whois that?
7 Q. Allright. You mentioned a public 7 A. Hername is Stephanie Green.
8 information officer. Is there somebody in that 8 QQ. Stephanie Green, okay.
9 position? 9 A. But she does not report directly to me.
10 A. Yes. 10 Q. Allright. Ms. Green, how old is she?
11 Q. Okay. Who is that? 11. A. 40-something, 50-something maybe.
12. =A. Tyson Pruitt. 12. Q. What is her race?
13. Q. Okay. Can you tell me his age, please, 13. A. +Black.
14 and his race? 14 Q. Allright. Is that it then? Is there
15 A. Approximately over 30 or 40, white. 15 anyone else that you would have -- during, you know,
16 Q. Allright. And the contract compliance 16 your time as --
17 officer, who is that? 17. +A. The whole time?
18 <A. Michelle Graham. 18 Q. Well, no. Currently now, but as the
19 Q. Okay. How old is she? 19 comptroller that you've --
20 A. Approximately over 50. 20 A. Not that I'm aware of.
21 Q. And her race? 21 Q. Allright. I want to talk a little bit
22 A. Black. 22 about Jim. Okay? You obviously know
23 Q. Did you approve the hiring of all of these 23 Jim Garavaglia?
24 people or some of them? 24 ~A. Yes.
25 A. Ibelieve all except Michelle Graham. Is 25 Q. Okay. He started in your office as an
Page 103 Page 105
1 that four people? 1 asset manager; is that correct?
2 Q. Okay. 2 A. No.
3 A. Ibelieve. 3. Q. How did he start in your office?
4  Q. Who picked Michelle Graham? 4 A. Idon't know. He was there when I came to
5 A. She was there when I came. 5 the comptroller's office. When I became the
6 Q. Okay. You appointed Bev? 6 comptroller, Jim was already employed in the Office
7 A. Actually I did to her current position. 7 of the Comptroller prior to my becoming the
8 Q. Okay. 8 comptroller of the City in 1995.
9 A. She was there when I came, too. She was 9 Q. So you said no as far as where -- I didn't
10 promoted. 10 say he started with you. I just meant the office
11 Q. How many administrative assistants do you |11 you were in. But what position, if you know, did he
12 have? 12 start in?
13. A. One. 13. A. Idon't know.
14 = Q. And who is that? 14 Q. Allright. Do you know what position he
15. A. Chana Morton, like Morton Salt. 15 was when you became comptroller?
16 Q. How old is Ms. Morton? 16 =A. Idon't know.
17. A. 50-something. 50. Over 50. 17. QQ. Okay. Do you know what position he was in
18 Q. Okay. What is her race? 18 before he was promoted to deputy comptroller?
19 A. Black. 19 A. Yes.
20 Q. Okay. Is there anyone else that you have 20 Q. Okay. What was that?
21 directly hired or approved the hiring of in your 21 A. Asset Manager II.
22 office currently other than the people you just 22 Q. Okay. Did you interact with him when he
23 named? 23 was in that position?
24 ~A. Yes. Secretary of E&A, I believe -- 24 A. Which position?
25 actually no. I don't remember if I selected her. 25 Q. Asset Manager II?

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1 A. Yes. 1 just do not recall at this time.
2 QQ. Okay. About how often would you say you 2 Q. Okay. Do you know -- this again relates
3 interacted with him? 3 to him being an asset manager or Asset Manager II --
4 A. I would say frequently. But that's 4 if you ever were involved in sending him to any
5 relative. 5 additional training or outside education? And I
6 Q. How often, like multiple times a day? 6 mean by that, you directly.
7 <A. Atleast a few times a month. 7 A. Directly in terms of training for Jim in
8 Q. Allright. Were you ever involved in his 8 particular, I don't recall. However, for the office
9 supervision when he was at Asset Manager II? 9 asa whole, I directly sent employees for training
10 A. No. 10 when possible and when we had the finances to do so
11 Q. What type -- what was the nature of your 11 Q. Do you do that at a macro level like the
12 interactions with him in general? 12 whole office, I want you guys to go to this
13. +A. Generally, my interaction had to do with 13 training, or do you do it sometimes specific to the
14 projects that the Office of the Comptroller was 14 employee if you feel there's a need?
15 involved in regarding City assets, City property, 15 A. ‘I've done both.
16 City operations that fell under the jurisdiction of 16 Q. So you have referred specific individuals
17 the Office of the Comptroller. And from time to 17 to specific trainings?
18 time issues regarding the office of -- in the area 18 A. Yes.
19 of accounting operations, financial operations that 19 Q. As far as the deputy comptroller of
20 would spill over into an asset manager for whatever | 20 finance, I think you've mentioned Ivy Pinkston was
21 reason. 21 in that role.
22 Q. Based on your interactions with him, did 22 A. Yes.
23 you ever consider him for any promotional 23 Q. Did you appoint her to that role?
24 considerations? 24 ~~ A. There's no easy answer for that. So I'll
25 A. Based on my interaction with Jim, I found 25 describe. Ivy created the position in order to
Page 107 Page 109
1 him to be a person that could be promotable while he | 1 express the level of job duties that she had
2 was in the job of asset manager. 2 undertaken in the office. And as that job was
3. Q. Okay. Did you have any particular 3 created, her -- she sought, that is, my approval as
4 positions in mind that he might be promotable to? 4 to who would be reporting to her. And it included
5 A. Idid not. 5 the asset manager.
6 QQ. Okay. Did you ever evaluate his 6 Q. Okay.
7 performance directly when he was an asset manager?| 7 A. Along with other employees that filled out
8 A. Not that I'm aware of. 8 the area.
9 Q. Allright. Do you recall reviewing or 9 Q. Allright. And I know she passed or at
10 signing off on any of his evaluations of performance | 10 least that's my understanding. Did that happen
11 that were written by someone else? 11 while she was in the position?
12 _~A. It's possible, but I don't remember. 12. A. Yes.
13. Q. Do you have any recollection of doing -- 13. Q.__ So that's how the position became
14 contributing in any way to his evaluations? 14 available again?
15 A. The evaluations offer a second rater. I 15 A. She created the position.
16 could have been asked to be a second rater. Butat /16 Q. I mean after she originally took the
17 this time, I don't remember. I just do not recall 17 position, she remained in it until she passed; is
18 if, in fact, that I did ever sign off. I have 18 that correct?
19 second rated employees during my tenure as the 19 A. Correct.
20 comptroller. And I'm just not sure if Jim was one 20 Q. At which point there was a vacancy that
21 of them. 21 you sought to fill?
22 Q. Have you ever had any ratings where you 22 A. I took my time to seek to fill it. And
23 made suggestions or contributions but didn't act as | 23 eventually I did seek to -- I asked that it be
24 asecond rater? 24 posted to fill.
25 A. It's possible, but I can't remember. I 25  Q. How long did you take before you asked for

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1 it to be posted? 1 possible candidates from anyone that's a St. Louis

2 A. A few months. 2 City elected official?

3 Q. Did you consider not filling the position 3. A. No.

4 atall? 4 Q. Did you talk to anybody in the community

5 <A. Yes. 5 that's like a community leader and seek advice from

6 QQ. Okay. What was the -- what would be the 6 them?

7 reasons why you were considering that? 7 <A. Absolutely not, no.

8 A. The candidate for the position was, I 8  Q. How about other elected officials state

9 felt, that was in the office was not there at the 9 level or --

10 time. 10 A. No.
11 Q. Okay. On what -- do you mean like 11 Q. Nobody?
12 qualifications? 12 A. No. No.
13. A. Yes. Qualifications. 13. Q. Allright. How about other department
14. = Q. When you were using this time to make the | 14 heads, reporting authorities within the City of
15 determination, did you consult with anybody else? | 15 St. Louis?
16 A. Consult how? 16 A. No.
17. = Q. Ask for their advice, ask for their 17. QQ. Anyone else that worked in a financial
18 opinion, seek -- 18 capacity for the City of St. Louis but not within
19 <A. What do you mean? Please be more clear. 19 your office, such as like the airport or other --
20 You mean -- 20 A. Letmesee. Did I do that? I don't
21 Q. I'm being general for a reason. Did you 21 believe so. I don't recall. Unless I was trying to
22 talk to anyone else to seek their advice? For 22 hire from a different department. But I don't
23 example, did you talk to any other elected officials | 23 believe I did. Unless I was trying to hire
24 about -- 24 specific, but I'm pretty sure I did not. But I
25 A. On whether or not to fill the position or 25 don't recall.

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1 were there other candidates? Advice for -- 1 Q. Allright. Do you recall participating in

2 Q. To fill the position, is my question. 2 the interview process with the candidates for that

3. A. Idid not seek advice whether or not to 3 position?

4 fill the position. 4 A. Notat the early stage, but at the later

5 Q. Okay. How about did you seek their advice 5 stage.

6 on who you would be looking at to fill the position? | 6 Q. Okay. In reference to Jim, do you know

7 A. Idid not. But what I did do was talk to 7 who interviewed him for the position?

8 outside professionals in the finance industry, 8 A. No. Ido not recall.

9 because I was called by them to ask me, knowing that, 9 Q. Okay. If asked you, if Judy Armstrong
10 the position was open, whether or not I would 10 did it, would that refresh your recollection at all?
11 consider people who were in their industry. I was 11 A. No.

12 given names of people throughout the United States |12 Q. No.

13 that could fill the job. 13. +A, Because the Office of Personnel recruits
14 Q. Those people -- 14 the people who they would like to interview,

15 A. Which is common in the industry of 15 candidates and/or the office that is requesting the
16 finance. 16 actual hire would determine who goes.

17. Q. And these people reached out to youoryou /17 Q. Did they consult with you before --

18 sought -- 18 A. No. I mean, that's not common. Totally
19 A. They reached out to me from investment 19 not common.

20 bankers, bond attorneys throughout the United 20 = Q. Well, I understand it's not common. What
21 States, both white and black, male and female from | 21 about for this particular position, did they seek
22 the east coast to the west coast. 22 your --

23 = Q. Did you -- I'm not sure if you answered 23. =A. No.

24 this question specific to what lasked. [know you |24 Q. Allright. So to what extent did you

25 mentioned that. Did you ever seek advice on 25 participate in the ultimate selection of Jim for

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that position?
A. Could you be more clear?
Q. Well, I want you to say whatever is
responsive to the question. So you know he was

comptroller of Finance & Development, correct?
A. Correct.
Q. So what was your involvement, if any, in
making that selection?
A. Ireviewed the list of six people. And I

1
2
3
4
5 ultimately picked as the replacement deputy
6
7
8
9

10
11 remember interviewing the people, each of the

12 people. And there was one individual who was in the

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1 asset manager. And I needed to know if he was
2 accepting of that type of arrangement prior to
3 accepting the position.
4 Q. Okay. So the duties of the asset manager
5 were not one that Ivy Pinkston --
6 A. That is correct.
7 Q. Allright.
8 A. My reason for that was because Ivy

9 Pinkston did not ever have Jim involved in the
10 business of Finance & Development while she was
11 deputy comptroller. I was very observant of that.
12 I understood that Jim did not have the skills

14 +A. Ireviewed other candidates and reviewed
15 my options. And eventually made a determination
16 that I believe was in the best interest of the -- of

17 the Office of the Comptroller to talk with Jim about
18 considering accepting the job with making some

19 changes,

20 Q. What changes are those?

21 ~~ +A. The job that in its current form and as it

22 was advertised would be changed to have less duties
23 than would be there for the finance functions. And
24 the reason for that was since he was an asset

25 manager, that he would also maintain his duties as

13 finance industry at the time that I was interested 13 required to be in the position, even though he had
14 in who I had actually spoken with prior to -- 14 worked under her as asset manager.
15 actually spoken to and was among the people who were 15 He had never interacted with bankers,
16 actively, I guess, looking at the position from the 16 investment bankers, and the attorneys that were bond
17 financing. In other words, an investment banker was 17 attorneys, and those professionals that worked in
18 on that list. 18 the area while Ivy Pinkston was the deputy
19 Q. Okay. 19 comptroller for Finance & Development. Jim was not
20 A. Investment banker was on that list. And 20 assigned in that area at all.
21 that investment banker was very interested in the 21 I was observant of that, because she
22 job. 22 did come down with an illness. I was observant of
23 = Q. Do you recall who that individual was? 23 who she would put in charge of certain areas that
24 A. Ron Browning Smith. 24 she was -- had charge over. Candace Gorden, Ryan
25 Q. You said Ron Browning Smith? 25 Coleman, Eunetter Steele, became those individuals
Page 115 Page 117
1 A. Yes. 1 that I as the comptroller rely on for all of the
2 QQ. Okay. And what happened with that? Did 2 business of Finance & Development while Ivy Pinkston
3 he -- you did not hire him obviously. So -- 3 was the deputy comptroller --
4 A. He was offered the job. 4  Q. Okay.
5  Q. Okay. Did he decline? 5 A. -- of Finance & Development. Jim was
6 A. Yes. 6 fully in his role and very active as the asset
7  Q. Do you know approximately how old he is? 7 manager and all the duties that was under him. But
8 A. Over 70. At the time, he was 70. 8 none of them crossed over into the Finance &
9 Q. Can you tell me, do you recall what race 9 Development area.
10 he is? 10 QQ. So when he became the deputy comptroller,
11. =A. Black. 11 did those people continue to perform those duties?
12. Q. Allright. So after he declined the job, 12 A. Candace Gorden retired. She was the top
13 what did you do next? 13 person under -- the top assistant under Ivy

14 Pinkston. And she retired.

15. Q. So who performed those duties after that?
16 A. Eunetter Steele was --

17. = Q. Before you jump to that, I want to make
18 sure we don't get too confused. Candace --

19 A. Retired.

20 QQ. --she retired, who took on those duties?
21 A. Idid.

22 Q. So that was not something that fell under
23 Jim?

24 =A. Itdid not.

25 Q. Allright. And then you were mentioning

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somebody else?
Ryan Coleman.
I think you said Eunetter?
Eunetter Steele.
Did she remain in her position --
Yes.
-- after Jim got promoted?

Okay. Who did she report to?
. Ido not recall, because I don't know if
Jim would -- accepted her as an employee or if she
reported to someone else. I do not recall that.
She was the direct assistant -- administrative
assistant to Ivy Pinkston.

What I know for sure is that the

protocols that was established for that work
progress for Finance & Development was no longer

> RPO>PO>

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Q. (By Mr. Schmitz) Was that something that
Chana Morton -- it was part of her job expectation?

A. Absolutely.

Q. Okay. So just to be clear, your
administrative assistant, one of her job roles is to
observe the practices of the deputy comptroller and
the deputy comptroller for Finance & Development?

A. One of her roles is to make sure that the
comptroller's instructions that she is well aware of
and understands is adhered to when it comes to
receiving documentation on behalf of me, the
comptroller. She understood the well-oiled system
because it existed from the beginning of the
creation of the position itself.

It was not rocket science. We were
handling and managing very important financial

17 followed. Eunetter Steele had developed the work | 17 documents that had not, before the position,
18 protocol with the leadership of Ivy Pinkston. After | 18 occurred as regularly as it was occurring during my
19 Jim took the position, those protocols fell apart. 19 administration.
20 Q. Can you elaborate on that? 20 QQ. When did you become aware of this? You
21 A. Eunetter Steele remained in her position 21 said you observed it and you were told by two
22 after the passing of Ivy Pinkston, and made herself | 22 individuals.
23 available to assist, to train, and help in any way 23 <A. Mishaps occurred.
24 whatsoever for the new deputy comptroller for 24 Q. No. My question is when.
25 development, which was Jim Garavaglia. Iwas told |25 A. Mishaps occurred when Jim Garavaglia, when|
Page 119 Page 121
1 and observed that those protocols were not followed. | 1 he was --
2 Those were instructions of my office from me, the 2  Q. When did you become aware of it?
3 comptroller, to have those well-oiled procedures and | 3. A. I became aware immediately upon Jim
4 policies to be continued. And they were not 4 Garavaglia's handling of documentation that was
5 followed. 5 Finance & Development that was mishandled. In other
6 Q. Who told you that? 6 words, the handling of the documents was no longer
7 ~~ A. Lobserved -- 7 the same as had been before he took the position.
8  Q. I know you said that. Who told you that. 8 So that was an immediate.
9 You said somebody told you? 9 Q. Okay. So --
10 A. I didn't say that. I said I observed. 10 A. It was immediate. And I -- not only was I
11. = Q. You said I was told -- could you read the 11 observing it, but I asked a question about it
12 record back just to be clear? 12 because I needed to know who and why. It was that
13 THE COURT REPORTER: Answer: Eunetter| 13 important to know. I did not want to jump to a
14 = Steele remained in her position after the 14 conclusion and say that it was somebody when it was
15s passing of Ivy Pinkston, and made herself 15 not. But I needed to know. So the observation was
16 _—_ available to assist, to train, and help in any 16 immediate.
17 way whatsoever for the new deputy comptroller |17  Q. Okay. So what steps did you take in
18 — for development, which was Jim Garavaglia. I 18 response?
19 was told and observed that those protocols were | 19 A. Iasked questions.
20 not followed. Those were instructions of my 20 Q. To whom?
21 office from me, the comptroller, to have those 21 +A. Eunetter Steele, Chana Morton, Jim
22 well-oiled procedures and policies to be 22 Garavaglia.
23 continued. And they were not followed. 23 + Q. And then what?
24 + A. Iwas told by Eunetter Steele and by my 24 A. Iwas given answers.
25 assistant, Chana Morton. 25 QQ. And then what?

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A. And then I had to observe the next go
around to see if there were corrections made based
on instructions that I had given after having the
discussions about the process and how the process
should go. And this is a process about making sure
that there's a circulation of the documents which
was efficient and in order to make sure that we are
meeting deadlines.

Whenever there's a financing, there's
deadlines that are in place. Elected officials are
not always going to be at their desk, the major, the
comptroller, the treasurer and other signers of
public officials that were supposed to sign the
documents, were not necessarily going to all be in
one place during the time the documents were
approaching for signature. And the deadlines were
in stone; not the individuals.

Q. Okay. Before we talk about the process at
length --

A. You're cutting me off, sir. I would like
to finish and it won't take long. And it's very
important.

Q. Go ahead.

A. Like I said, the deadline was in stone,
but not the individuals. So what was in place was

Page 124
1 A. The documentation would be in the form of
2 anarrative given to an attorney which I believe you
3 also have the narrative.
4  Q. Was it — okay. You are referring to
5 documentation in July of 2019?
6 =A. It follows --
7  Q. Was there any documentation prior to that?
8 A. I believe so. But I can't recall
9 specifically at this time. But I believe so.
10 Q. Okay. How long was Jim the deputy
11 comptroller?
12. A. From, I believe, June -- May or June of
13 2016, until he retired in 2019.
14 Q. So in those three years before he was
15 placed on forced leave, what was done in response to
16 what you just articulated you observed and were also
17 told by two different individuals?
18 A. Well, let me give you an example. I got a
19 call from Joyce Opinsky, who's a banker with Stern
20 Brothers, the morning of a closing of a financing.
21 She was alarmed. It was in the morning. I was on
22 the way to a doctor's appointment. Joyce Opinsky
23 said: If you don't mind, Comptroller, I need your
24 signature.
25 I was in shock. I said: Joyce.

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for the secretaries of -- and assistants, the
assistants for each elected official and other
officials who were going to sign the documents to
find out where those individuals would be and to
inform them that there were some important documents
that were going to be coming within a certain time
period or window. And then they would arrange among
themselves when to get the documents to those
individuals so that the deadlines which were very
important could be met without question.
Over a couple of decades, that worked

perfect. Then all of a sudden, I observed a
dismantling of that system, a well-oiled system that
seemed to just stop working. And while Eunetter
Steele was still present, I couldn't understand. So
maybe there's something that I'm not understanding.
So I kept going back, giving the instruction, to
make sure you follow direction. And then those
directions were not followed by Jim.

Q. And you've documented this?

A. Idid.

Q. Over the course of his time as the deputy
comptroller?

A. Yes.

Q. Okay. Where is that documentation?

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1 She says: Comptroller, whatever you
2 do, I need your signature by noon.
3 I said: But Jim -- and I remembered
4 this so well because her office was in Clayton and I
5 was driving to my doctor's appointment at the time.
6 I said: Joyce, no worries. I'll swing by your
7 office.
8 I'll come down the elevator. I'll
9 meet you in the lobby.
10 I went to Stern Brothers. I signed
11 the document. And Joyce and I spoke about how this
12 is happening, how this is happening, and how this
13 had to happen.
14 She says: I don't care about what
15 you guys got to do. In order to sell these bonds, I
16 need your signature. Thank you so much.
17 I went to my doctor's appointment. I
18 didn't hear from Jim that day. But what I heard
19 from others in the office is that Jim was surprised
20 that the document was signed. That was the first
21 time I observed that I'm aware --
22 QQ. Did you speak to Jim about this?
23 A. Idid not. Jim did not call me. He's my
24 subordinate.
25 Q. Did you seek to talk to him about it?

32 (Pages 122 - 125)

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10 Jim did not follow them.

11. QQ. Where are these procedures? What document
12 are they contained in?

13. +A. These procedures come from the comptroller
14 verbally.

15 Q. Did you ever memorialize any of these

16 strict detailed instructions?

17. +A. Yes. Eunetter Steele did that.
18 Q. Where are they?
19 A. I don't -- there was a fold -- there's a

20 thick book in the Office of the Comptroller which
21 was shared with Jim's secretary, from Eunetter
22 Steele to Jim's secretary. And it happened in my
23 office. I was sitting right there. I said:

24 Sheila, are you going to do this work here that

1 A. Iprobably was more concerned with my 1 you going to do this?
2 health on that day that I had just come from the 2 At the time Sheila cried.
3 doctor. 3 Q. So where's this document is what I asked.
4  Q. Did you follow up? 4 A. It's in the City of St. Louis
5 A. Idid not follow up until later on in the 5 comptroller's office, and it would be in 1520
6 weeks. Because certainly there were other documents 6 Market.
7 that were circulating. And, yes, I pulled Jim into 7 Q. Does it have a title?
8 the office for a conference and a consultation on 8 A. I'm telling you where it is. You're
9 matters that had to do with signing documents and 9 asking me. So if you allow me to tell you the rest.
10 circulating them. I did that multiple times. 10 Q. Go ahead. You want to answer the question
11 Not only was it Jim and his 11 fully. You say I'm not giving you a chance.
12 secretary, it was also Jim's secretary and Eunetter 12. A. The document is in the City of St. Louis
13 in my office to have consultation on circulation of 13 Comptroller's office at 1520 Market.
14 the documents and the understanding of such in terms) 14 Q. You said that already. Is there anything
15 of the importance of how you get the documents 15 else you want to add to that?
16 circulated properly to let the elected officials 16 A. No.
17 know that you'll meet them at a certain time and 17. = =Q. Okay. So does it have a title? Is it
18 place to sign documents, instead of having an 18 labeled in some conspicuous way?
19 investment banker to call you while you're on the 19 A. I don't know. I didn't prepare it myself.
20 way to the doctor. 20 Q. But you reviewed it?
21 Q. So when was this? 21 A. Yes.
22 A. This was early on in Jim's tenure as 22. Q. Okay. And this was put together and your
23 deputy comptroller. He began June of -- or June of | 23 testimony is that it was made available to Jim. It
24 2016. So it was either the 2016 or 2017 year. It 24 was explained to Jim that it had to be followed. Is
25 was early. It was early enough to alarm me that I 25 that what your testimony is?
Page 127 Page 129
1 had to have a call from an investment banker to ask 1 A. My testimony is the document was made
2 for my signature instead of my subordinate who was | 2 available by Eunetter Steele to help and assist in
3 Jim Garavaglia, who should have called me or my 3 any way she could, Jim Garavaglia, the secretary to
4 assistant to find out where I would be to sign a 4 Jim Garavaglia, any assistant to Jim Garavaglia to
5 document so it could be in time for the closing. 5 get the job done. That's my testimony.
6 That's millions of dollars of City 6 Q. Okay. So this document was created. You
7 taxpayer's dollars that we're talking about here. 7 were aware of it. You are saying that Jim was
8 And I had given strict instructions on how, that 8 provided with it. Was expected to follow it but
9 these procedures for signature should happen. And 9 didn't right out of the gate and continuously

25 it -- it says this is how you circulate these. Are

10
11
12
13
14

throughout his employment. Did you not follow up
with him? Did you not take any type of disciplinary
action?

A. I followed up with him, yes, and I
followed up with him regularly.

15 Q. In what way?

16 A. I gave Jim verbal reprimands regularly.

17. = Q. Did you ever put that in an e-mail?

18 Anything related to this issue and his noncompliance

19 with your expectation get memorialized in writing?
20 A. I'mnot sure.

21 Q. So you're unaware if it did or didn't?

22 A. Jan unsure that I memorialized it in

23 writing on this particular issue, I am unsure. But
24 I'm very sure that I gave direct instructions to Jim
25 on how to circulate documents. And I'm very sure

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that he did not ever follow those instructions as I
had given them to him. And it was very troubling to
me that he couldn't do that, because I did take the
time and the steps to continuously speak to him and
also monitor and also speak to other professionals.

Q. Then there were witnesses to all these
conversations?

A. There was not direct witnesses to when I
spoke to Jim. But there are people that I spoke to
about the problem.

Q. Okay. Who would those be?

A. Well, I spoke to -- one of the persons
that I spoke to was the financial advisor. I
mentioned very casually that I was experiencing an
issue. And her response was very short. And I
decided that I needed to be more vigilant in my
17 observation so that I would not miss or misinterpret
18 or misunderstand whether there was a
19 misunderstanding on Jim's part or his staff.

20 Q. Okay. And what determinations did you

21 make?

22 <A. I determined that after I had given Jim

23 Garavaglia a directive and direct instructions, that
24 not only did he not follow them, was that he was not
25 going to follow them, is what I determined.

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1 City of St. Louis Airport is an
2 example. Water department, another example.
3 Parking division, another example when it comes to
4 issuing bonds and expecting to adhere to deadlines
5 and meeting those deadlines. Because again, those
6 are hard deadlines. The people who have to sign the
7 documents are not.
8 QQ. How many of those deadlines were missed
9 during Jim's tenure?

10 A. During Jim's tenure, the deadlines were --

11 that were there for each of those were not all met

12 because of Jim. Because Jim --

13. Q. Is this documented?

14. A. Yes, it is.

15 Q. So there's sales that --

16 A. Yes, itis. For example, Vertical Real

17 Estate's closing, that deadline was met without Jim.
18 Q. So it was met?

19 A. It was met because I'm observing and I

20 took a special role to observe once I found out that

Page 131
1 = Q. When did you make this determination?
2 A. Imade that determination after the fiasco
3 that happened with the documents with the real
estate closing of Vertical Realty. I knew then with
that fiasco that Jim was never going to follow the
6 directive and protocol and procedure to circulate
7 the documents in a professional manner, in a proper
8 manner, so that they could be signed and a deadline
9 could be met properly.
10 Q. Allright. So describe this process to
11 me. What -- give me the detailed description of
12 exactly what should have been done and what should
13 be done in each one of these cases?
14 =A. We have financial closings that involve
15 investment bankers. But you also have financial
16 closings or extensions or development deals. You
17 have all of those kinds of dealings. Each of those
18 kinds of deals, you have different protocols. But
19 the bottom line is you have different persons who
20 need to be available to sign the documents. And the
21 job is to act in a sense of urgency to meet the
22. deadlines on behalf of those who are developers, who
23 are expecting that their project shall be closed on
24 time. And on behalf of the City of St. Louis who's
25 the issuer of the bonds in most cases.

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21 Jim was not handling the documents properly.
22 Q. So my question was, how many deadlines
23 were not met?
24 ~=A. Jheard your question. And I gave you an
25 answer.
Page 133
1 Q. Well, you said --
2 A. And my answer is that --
3 THE COURT REPORTER: One at a time,
4 please.
5 MR. NORWOOD: She was answering and you
6 keep talking over her.
7 MR. SCHMITZ: Well, no. Her answer --
8 MR. NORWOOD: No. You are cutting her
9 ~—ooff.
10 MR. SCHMITZ: Every single time.
11 MR. NORWOOD: But you should know better.
12 MR. BLANKE: Not much.
13 (Whereupon there was an
14 off-the-record discussion.)
15 MR. SCHMITZ: We're good.
16 Q. (ByMr. Schmitz) I'm going to ask politely
17 that your answers are responsive to the questions.

18
19

That's the reason I keep repeating it. And if I'm
asking the question again, it's because your answer

20 is not responsive to my question.

21 MR. NORWOOD: And I'm objecting as being
22 argumentative. She is answering your question.
23 And when you don't like the answer, you cut her
24  offand that's what causing the confusion.

25 MR. SCHMITZ: Your objection is noted. I

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1 don't agree with you, but it's on the record. 1 MR. SCHMITZ: This has now taken on the
2 Q. (By Mr. Schmitz) Now, how many times were) 2 role of a speaking objection which we have --
3 deadlines not met? One? Two? Five? 3 MS. HAMILTON: -- being inserted in your
4 A. There were no deadlines not met, but it 4 question.
5 was because of the Comptroller, Darlene Green, who | 5 MR. NORWOOD: Why don't we do this --
6 is sitting here answering these questions to you and 6 MR. SCHMITZ: You guys are doing exactly
7 the staff of the comptroller put in place a 7 ~ the same thing that you said was wildly
8 procedure and a process to make sure deadlines are 8 inappropriate during the last deposition that
9 met. It is our job to do the right thing in the 9 was taken of my client. I'm going to ask that
10 Office of the Comptroller to protect the integrity 10  ~wecan all proceed --
11 of the office, is what we were doing. 11 MR. NORWOOD: Let's take a break.
12. Q. Well, I mean you're laying all the blame 12 MR. SCHMITZ: Can I finish before you
13 at the feet of Jim. So my question is, how many of | 13 interrupt me?
14 these bonds were effected negatively and you've 14 MR. NORWOOD: You can finish.
15 answered my questions. Now, how many bond sales | 15 MR. SCHMITZ: Thank you. First of all,
16 were successfully completed during Jim's time as 16 _=‘I'm not going to take a break until I get an
17 comptroller? Did you look at that? 17 —_ answer to the question. Second, I'm going to
18 A. Is that a question? 18 — ask you both to not make speaking objections.
19 Q. Itis, yes. 19 You can make your points and that's that. I
20 A. Did I look at it? 20 made a request and you can decline to do that
21 Q. Do you know the answer? 21 ~~ ornot.
22 A. DoTknow the answer to what? 22 That being said, that's my request on the
23 Q. Do you know the answer? 23 record that your client not cut me off, that
24 ~~ A. The answer to whether I looked at 24 your client answer the questions as asked, and
25 something or the answer to how many bond deals 25 when I ask for the question to be answered,
Page 135 Page 137
1 closed while Jim was the deputy comptroller for 1 that you don't interrupt when it's not being
2 Finance & Development? 2 answered.
3. Q. Ifyou know the answer, please tell me. 3 MR. NORWOOD: Are you done?
4 A. Is that the question? 4 MR. SCHMITZ: Go ahead.
5 MR. SCHMITZ: Counsel, she's deliberately 5 MR. NORWOOD: Okay. In response to that,
6 arguing with me when it's very clear to me what 6 weare more than willing to allow the witness
7  I'masking. 7 to finish her answer, if you allow her to
8 MR. NORWOOD: She's not arguing. 8 finish the answer. We're more than willing to
9 MR. SCHMITZ: I'm going to respectfully 9 have her answer a question that's clearly put
10 __ request on the record that you instruct your 10 ~— out before her. And we have -- just like you
11 client to simply answer the question as asked. 11 ~~ would with your witness, if she doesn't
12 MR. NORWOOD: She's not arguing with you.|12 understand the question, she is probing to find
13 She's trying to get clarity on what you're 13. out what you are asking. The questions are
14 asking and you're not providing clarity. 14 confusing. They're compound. And every time
15 MR. SCHMITZ: I asked repeatably do you 15 __ she starts answering and you don't like it, you
16 know the answer and what is it. 16s cut her off.
17 MS. HAMILTON: That's not a clear 17 You're being belligerent to her. You're
18 question. The reason that she's trying to 18 __ badgering her. And we're not going to tolerate
19 clarify the question is because every question 19 it, Okay? So what I would suggest is we take
20 = you present is compound. So she's asking if 20 abreak. We take a breath. We come back and
21 you want her to answer the first part or the 21 ~~ we proceed in an orderly fashion that we're
22 second part. Just because it’s clear to you, 22 supposed to, which is to allow the witness to
23 does not mean it's not clear for the witness. 23 answer the question or have the witness try to
24 And you're becoming argumentative when you're |24 __ clarify the question so she can give you a
25 _—_ inserting various speaking testimony -- 25 complete answer.

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MR. SCHMITZ: I have no problem clarifying

1
2 _ the questions.

3 MR. NORWOOD: There we go.

4 MR. SCHMITZ: That's not my issue. That
5 was never my objection. That wasn't even part
6 of my request.

7 MR. NORWOOD: It's part of mine.

8 MR. SCHMITZ: I asked if you would

9 politely ask your client to not interrupt me

10 either. That's not only been my request. You
11 didn't respond to that part. Let me revisit my
12  — question again.

13 Are we still on the record?

14 THE COURT REPORTER: Yes.

15 Q. (By Mr. Schmitz) How many successful bond

16 contract issues were executed during Jim's tenure?
17. +A. Idon't know the number.

18 QQ. Do you know approximately?

19 <A. I would say successful bond issues, I

20 recall a 2016 bond issue. I recall a 2018 bond

21 issue. Both of those were general obligation bond
22 issues. There would have been possibly some

23 refinancings. And I'm not sure if there was one or

24 two refinancings. So roughly anywhere between five

25 and eight possibly.

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and Jim was present along with other members of the
staff. There were just multiple meetings.

Q. Okay.

A. It was pretty common.

Q. So I'm going to go back near the very
beginning. Do you ever recall talking to him about
his future in that job?

A. Yes.

Q. Did you talk to him about how long he
intended to work?

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A. I wanted him to stay there as long as

_
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possible. That's my MO, modus of operandi. IfI'm

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we

working, I want you to be working. I want you

—
&

working with me. I want you working alongside me.

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I want you to be a partner in the job of working in
the Office of the Comptroller.
17 I am very well-known to have been a

_
Nn

18 person that promotes from within. And am very

19 hopeful that the people who work for me want to work
20 for me forever. Because I like to train, help

21 educate, I want to see people do well. I want to

22 see people that work for me to do well. And I've

23 shown it in my practice. When I promote you, I have
24 elevated you to a place of responsibility along with

25 more salary. Not only to help you but help your

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1 MR. SCHMITZ: You guys want to take a

2 break?

3 MR. NORWOOD: Yeah. Take a break.

4 (Whereupon there was a short

5 break, 2:02 p.m. to 2:24 p.m.)

6 QQ. (By Mr. Schmitz) So I want to talk about

7 after Jim was hired when he first started in that

8 position as the deputy comptroller for Finance &
Development. Do you recall having any initial

10 meetings with him?

11 A. Yes.

12. Q. Okay. What did you discuss at those

13 meetings?

14 +A. There was, I guess, more than one meeting.
15 There was -- I would say more than one topic,

16 several topics. One would have been about the job
17 expectations.

18 Q. Okay.

19 A. Then there would have been other times

\o

20 where there was meetings on other subjects having to

21 do with work. There were many meetings because
22 there was lots of work, lots of topics, areas of

23 concern that we were working on at the time. There
24 were meetings where there was Jim and just myself.

25 There was meetings where there were multiple people

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1 family.
2 Because you have chosen to work in
3 the Office of the Comptroller, I believe in giving a
4 benefit for that. I believe that is something that
5 will help the individual employee enjoy the job even
6 that much more. So that they would want to continue
7 on working for the Office of the Comptroller.
8 Because there was a lot of times that
9 employees didn't get raises. But if they got a
10 promotion, then a raise came with that. That I
11 would hope that that would cause them to want to
12 have a loyalty to the Office of the Comptroller and
13 to work in the Office of the Comptroller. Because
14 the Office of the Comptroller in the City of
15 St. Louis was an office that I felt, I guess -- we
16 did a lot of good for the community. I really
17 believe that.
18 We were complimented a lot in terms
19 of how we served the public, especially during times
20 when the public would call, ask for services. And
21 instead of us saying, sorry, you got the wrong
22 office, we'd say wait one moment. We will direct
23 you to the people that you need to talk to. And we
24 were happy to have that reputation. And I was happy
25 to have an employee that would want to stay with the

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Office of the Comptroller. That had experience and
that had worked in the community, that had family
ties in the community. It was very important.

Q. Did you ever talk to him about retirement
in the beginning?

A. I talked to him about retirement hoping
that he would not retire, is what I would most
definitely have said to him as well as employees
that worked for me. I hope you wouldn't retire
because we need you, want you, in the job.

Q. Do you -- did you talk to him by phone or
in person when you --

A. In person.

Q. No. When you offered him the job?

A. I'm not sure if it was by phone or in
person when I offered him the job. I don't know. I

17 just can't recall right now.

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1 Q. Yes.
2 A. No.
3. Q. Iknow we talked about after he was in the

4 position, you guys met. And I'm not going to repeat

and get into that again. But I do want to ask about
6 a meeting that may have been around March or April
7 of 2019 between you and Bev Fitzsimmons. I don't
8 know if that's enough information to help you to
9 know if that meeting happened or not or if you

10 recall. But I'll ask that now.

11 Do you recall based on that

12 information, a meeting in or around March,

13 April '19 regarding your running for reelection?

14. A. No,Ido not recall.

15 Q. Okay. Do you recall any specifics of any

16 conversation you had with Jim where you may have

17 asked him if he intended to retire and when?

w

18 Q. Do you recall ever asking him if he was or 18 A. Inthe same year or could you --
19 stating to him that he would be going out on top? 19 Q. During any point.
20 <A. Well, in the most complimentary way I did. 20 A. I would have had a conversation with Jim
21 I was so happy that he was now making a lot more 21 and my other deputy comptroller as to whether they
22 money than he would have been making had he not been | 22 would be in my office working for me as long as I
23 promoted to the job. So that being the top job in 23 was the comptroller. That would have been the
24 the office, I was ecstatic for him. And I expressed 24 conversation that I would have and have had in the
25 that to him. 25 past with deputy comptrollers of the comptroller
Page 143 Page 145
1 Because now instead of having an 1 since I had the job. Because every four years, I
2 Asset Manager II salary to retire on whenever he 2 would not know whether I had a job.
3 chose to do that, he would retire at the top 3 But I did know that as a civil
4 position that he could have in the Office of the 4 servant, the employees that work for me, they would
5 Comptroller. And by God, I was wanting to 5 have a job. So I wanted to know if they were still
6 congratulate him on that. Because I was happy about) 6 wanting to be there working for me in the Office of
7 it. And I would hope that he would be happy about | 7 the Comptroller. So that would have been the
8 it. 8 question that I would have had.
9 Q. Do you know if anybody else was a witness 9 QQ. So you used the words "would have." Do
10 to that conversation? 10 you have any specific recollection of any particular
11 A. I'm not sure. 11 meetings where you recall having that actual
12. Q. Okay. You don't recall? 12 conversation?
13 A. No, I don't recall. 13. A. I would have made the statement similar to
14 = Q. And did you ever think about if Jim 14 or in the context of hope -- that I would hope that
15 retired or was no longer in that position, who his 15 they were not going to retire if I'm planning to run
16 replacement might be? 16 for reelection. Running for reelection never
17. A. Yes. I did think about that. 17 guaranteed whether I was going to be elected or not.
18 Q. Okay. Did you have any thoughts or plans? | 18 Anda high-level employee would be in jeopardy when
19 A. Well, I thought about it in terms of the 19 or if I was not elected. I was clear about that.
20 asset manager portion of it, is that what you're 20 I was very protective of my
21 asking, or are you asking about the deputy 21 employees. So I didn't want to put any jeopardy in
22 comptroller? 22 their way if] plan to just not run for reelection.
23 = =Q. Well, I'm asking if you ever thought about 23 So I'm saying it was like kind of a team, a work
24 who might replace him. 24 team, if you will.
25 A. While he was in the position? 25 Q. Do you recall actually having that

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conversation, though, specifically?
A. With Beverly and with Jim at some point.
I met with them both --
Q. So you did --
A. -- to let them know. This was June 11,
2019 in the 1520 building, the same day that there
7 was a special E&A meeting scheduled. And I asked
8 for a meeting with Beverly and I asked Jim to join
9 me on that day. To instead of going to the E&A
10 meeting, which was June 11, 2019, I would be absent
11 and I asked that my staff be absent. And in lieu of
12 going to the E&A meeting, we would meet and just
13 talk. And that was June 11, 2019. And we talked
14 about several issues,
15 One of the first ones was whether or
16 not any of us had heard from the airport or the
17 airlines regarding the issue of the airline or
18 airport financing. Because that was the issue that
19 the mayor wanted the special meeting about, to vote.
20 And the airlines -- I had understood as I was going
21 into that meeting, I just heard that the airlines
22 had threatened to come or show up if there was such
23 a meeting to be held.
24 So I thought it would be best to be
25 outside of city hall and nowhere near just in case

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I remember asking about Jim's

secretary Sheila, because there had been some
problems which was discussed about the circulation
of documents, which I was led to believe she was the
problem with that. So I made a point to ask him
face-to-face about Sheila, was she okay, was she
going to be okay following the instructions. I made
the point to talk about whatever it is that they had
asked me. That Beverly had asked. She was present.
You know, the three of us was present in the
conference room. I believe we stayed for an hour or
less in the meeting.

Q. Okay. Did you ever give Jim any service
ratings?

A. I did not, except for when I had to by --
I believe to his working test period.

Q. Okay. Any particular reason why not?

A. Because I don't give ratings generally to
any of my employees.

Q. You say generally, is --

A. Generally unless they ask for it and force
me.

Q. Did you give ratings to Bev?

A. For her working test period, I believe I
did.

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1 there were some issues of press. Later after that
2 meeting, we learned that the airlines had sent the
3 mayor a letter at noon on that day letting her
4 specifically what she needed to do with regard to
5 that airport financing and what their purpose was.
They said they prefer the comptroller's financing to
7 whatever she was proposing. And that if there was
8 such a vote that would go awry of that, that she
9 would hear from them. And that letter came from the
10 American Airline and Southwest Airline.
11 So that day was a very memorable day
12 because of that issue. And I know who I was with.
13 I was with those -- and as a matter of fact, the
14 meeting was at 2:00 at the same time the scheduled
15 E&A meeting was.
16 Q. And did this meeting include discussions
17 about their future plans?
18 A. It included conversations about whether or
19 not -- in addition to the conversation, which a
20 large part of the conversation had to do with the
21 airport, and the other part had to do with whether
22 or not they were wanting to be in the comptroller's
23 office, that was what that was about. And I
24 remember asking if they had any concerns. Do you
25 have any concerns?

in

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1 Q. How about since then?
2 A. Idon't believe I did.
3. Q. I'm not going to go through each of them
4 in turn, but we talked about other employees that
5 report directly to you. Would you be the one
6 responsible for doing the ratings if someone were to
7 doa rating?
8 A. Yes.
9 Q. Do you know whether you've done ratings
10 for any of those individuals?
11. A. Ido not believe I've done them.
12 Q. And why don't you do them unless the
13 employee asks for it?
14. ~A. ‘Itis not one of the work -- for work.
15 It's not one of the favorite things for me to do.
16 =Q. Is it your understanding that it's
17 optional, or do you know if it's something policy
18 requires?
19 A. It's my understanding employees would
20 receive their maximum merit raises with or without
21 the rating. And they also would be considered
22 satisfactory across the board without a rating.
23 Q. There are two types of raises, though,
24 correct?
25 A. I'm not sure what you mean.

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14 is my reason. I do delegate that activity.

15 Q. Okay. What's the reason you delegate
16 them?

17. A. Pardon me?

18 Q. Excuse me. What is the reason you
19 delegate that particular duty?

20 A. The reason that I delegate the delivery of
21 a forced leave letter is because the forced leave
22 letter is prepared by me with the instructions or
23 approval of the personnel director. And after
24 having consultation and said approval from the

1 Q. Well, there's merit based raises based on 1 delivery, I have chosen to delegate that part of the
2 your performance and raises based on a particular 2 forced leave as a matter of practice.
3 classification, right, that are based on percentage 3. Q. Do you know the circumstances of what
4 either City wide or specific to a classification? 4 happened to Jim after he was presented with the
5 Is that not correct? 5 forced leave at all; are you familiar with that?
6 A. For years we've only had the one. Since 6 A. Ido not know directly, only by what I was
7 2009, we've had the one type of the raise which was | 7 told. And I do believe I was told that a successful
8 the merit increase. 8 delivery of the letter occurred.
9 Q. How would an employee get a merit based 9 Q. Okay. Do you know anything about him
10 increase without a rating, one that was based on 10 being escorted out of the building?
11 performance? 11 A. Ibelieve there was more than one employee
12. A. The personnel regulations require that 12 that met with -- that met together to meet Jim at
13 absent of an annual review, would be considered the | 13 the time of the delivery of that information.
14 same as an annual review given in a successful or 14. = Q. Who were the other employees?
15 above successful rating. 15 A. I think it was -- I believe I was told it
16 Q. Do you know what regulation that's from? 16 was Kelly Anderson. And I don't know who the other
17. =A. Ido not. 17 employee would have been from the 1520 --
18 Q. Do you know if it's an administrative 18 QQ. Do you know -- sorry. Go ahead and
19 regulation or if it comes from an ordinance or -- 19 finish.
20 A. Ido know it's a personnel regulation. 20 =A. From 1520 Market.
21 Q. So like an internal regulation with that 21 Q. Do you know anything about Cindy Marshall
22 department? 22. being present?
23 A. I'mnot sure. 23 A. That may have been the other employee.
24 Q. Okay. Before I talk about the events in 24 But I don't know personally if that was true.
25 June of 2019 that we've already touched on, I want |25 QQ. Okay. Do you know -- Well, let me strike
Page 151 Page 153
1 to fast-forward a little bit just to July 2 itself 1 that.
2 and talk about the actual forced leave notice. Da 2 If you know, whose decision was it to
3 you know who gave that to Jim? 3 have him immediately escorted off the premises
4 A. Ibelieve it was Judy Armstrong. 4 without even an opportunity to get his personal
5 Q. Okay. 5 items?
6 A. But I'm not sure. 6 A. I don't know if that was a decision made
7  Q. Did you participate in it? 7 that was -- I don't know or not. But what I know is
8 A. Idid not. 8 that Judy Armstrong is the appointing authority for
9 Q. And how come you did not participate? | 9 personnel. And that she had the authority to set a
10 A. I delegated the actual delivery. 10 process in place for managing all personnel actions.
11 Q. And what was your reason for delegating) 11 Q. Were you aware this was going to happen
12 it? 12 when he was presented with this forced leave?
13. A. I delegated the delivery of forced leave, |13. A. I was aware that he would be presented

25 director, then the action of carrying out of

14 with the information. I was aware of that, yes.

15 Q. Okay. What about being escorted out, not
16 being allowed to take personal items, that sort of
17 thing?

18 A. I don't know if I was aware at the time, I

19 don't know.

20 Q. Why did you decide to place him on forced
21 leave instead of issue a pretermination notice?

22 A. Thadacouple of weeks of disturbing

23 incidents. One being at the E&A meeting. The

24 second being the second week, the Wednesday before
25 the Vertical Realty documents needed to be signed,

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1 which was that Friday they needed to be signed, but
2 on that Wednesday, I got an e-mail from Tom Ray,
3 outside attorney who warned our office that there
4 would be trouble he believed, because he learned
5 that Jim Garavaglia had put the documents in the
6 interoffice mail.
7 So in that e-mail, I discerned that
8 the attorney was trying to protect the integrity of
9 the office with a warning about the documents. And
10 so I took steps. I was reminded of what had
11 happened the week before. And I said, okay, here we
12 are. Week two, let's get a plan together so that we
13 can have a smooth landing.
14 And so I took it upon myself to ask
15 my secretary to set up a conference call. Tom Ray,
16 I said, place him on the conference call with the
17 secretary of the mayor, which was Sherry
18 Wibbenmeyer, myself, my secretary, and
19 Jim Garavaglia. Those five people on the call.
20 Q. What date was this?
21 A. This was Wednesday, June 26. And it was
22 roughly around 4:00, a little after 4:00. We had
23 been given -- the e-mail had been received after
24 2:00 from Tom Ray, outside counsel, warning my
25 office about pending trouble because documents had

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in interoffice mail, because he probably never heard
of such. And he stated in that e-mail that Jim
should have never put those documents in the
interoffice mail. These were important real estate
documents. As a matter of fact, they were down the
hall at the mayor's office. And the format that Tom
Ray was used to, one or the other secretary would
walk the documents down. If Sherry was busy, then
my secretary would walk down the hall and get the
documents and have them ready for review.

So that's the common practice that
Tom Ray was used to. And he also stated those very
words in his e-mail. He said: Sherry should have
walked the documents down.

So in answer to your question, why
did I consider a forced leave instead of immediate
disciplinary action, is because I needed to think
about what the disciplinary action should look like.

Q. What do you mean by that, you needed to
see what the disciplinary action would look like?

A. I wasn't clear. Jim was a valued employee
Thad. Jim had many years in the Office of the
Comptroller. I said, no way I'm going to fire this
dude. I said, I'm going to look at this. I'm going
to see what we need to do here. So I called up and

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1 been placed in interoffice mail. In that e-mail,
2 Tom Ray stated that Jim should not have asked
3 Sherry, the secretary, to place the documents in the
4 interoffice mail.
5 Q. Is Tom Ray familiar with the circulation
6 process for the City?
7 A. He's extremely familiar with them. He's
8 worked over 30 years plus on finances and anything
9 and everything to do with the Office of the
Comptroller. He was a former City counselor. And
his job was to be counsel to the Office of the
Comptroller. And subsequent to that, he joined the
law firm of Armstrong Teasdale and continued to work
on financial matters for the Office of the
Comptroller.

So he was familiar with the
operations that had been put in place by Eunetter
Steele about circulating documents. And he had the
acute understanding that the secretaries had to make
sure that their bosses were in a place to sign the
documents. As a matter of fact, that e-mail was
sent to Chana Morton because of his acute knowledge
of how the circulation process worked.

Of course he would sound the alarm
when he found out that the documents had been placed

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had a discussion with the Director of Personnel and
explained the problem that I had, and gave him in
detail. And he told me, he said: Well, Jim's a
high level employee of yours. We have forced leave
to deal with employees like that. Then you can make
your decision.

Isaid: Well, you know, you're
right. So I chose to look at forced leave that
would give me at least ten to 14 days to make a
10 decision that was fair to Jim.

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11 Q. Did you want --

12. A. I wanted to make a fair -- if you want me
13 to finish, I will.

14 Q. Go ahead.

15. A. I wanted to make a fair decision.

16 Something that was fair to Jim. I didn't want to

17 make a decision that was hasty. I wanted time to

18 think, because these were serious matters. I wanted
19 to know Jim understood how serious this was. This
20 is City money. This is a project that we had been

21 working tirelessly on for many, many years. And we
22 finally got it to a place where these guys were

23 going to get this hotel built. And we've got one

24 more extension. Everybody was hanging on, letting
25 me get this one more extension.

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1 This was a project that started out 1 titled, a pretermination hearing. It was not meant
2 of our office, out of the Office of the Comptroller. 2 to be a termination, otherwise it would have stated
3 So I was very familiar with it and had been familiar | 3 such. I was aware that I had options to discipline
4 with it for years. And I was very supportive of it. 4 instead of forced leave. I chose forced leave
5 I wanted it to be successful. I wanted Jim to be 5 instead of discipline. I wanted to make sure that
6 successful. 6 the discipline that I chose was appropriate for the
7 Q. Did you make the forced leave decision on 7 employee.
8 July 1? 8  Q. Can you circle back to the second and
9 A. I made that forced leave decision on -- on 9 third pages of this exhibit?
10 the 28th, on that Friday. 10 A. Yes.
11 QQ. When did you decide that you were goingto |11  Q. Yousee there's two different letters to
12 be seeking termination? 12 Richard Frank both dated July 2?
13. +A. Inever decided that I was going to be 13. A. Yes.
14 seeking termination. 14 Q. Okay. Can you tell me why there was two
15. Q. Can you look at what's marked Plaintiff's 15 separate letters sent to him?
16 Exhibit O? 16 A. Yes. The first one and the second one.
17. +A. Yes, [have it. 17 The first one I'm seeing is the one that had more
18 (Whereupon Exhibit O was marked 18 detail describing actions taken by Jim Garavaglia.
19 for identification.) 19 The second one does not describe those actions. I
20 = Q. (By Mr. Schmitz) If you could turn to the 20 was advised by counsel to be more clear, that Jim
21 fifth page within that packet, it's dated July 2, 21 did not -- would not know why he was being put on
22 2019. And it's addressed to Mr. Richard Frank from | 22 forced leave.
23 you. 23 MS. HAMILTON: I'm going to object to --
24 «A. It's July 2? 24 ‘that those conversations are attorney-client
25 = Q. July 2, 2019, yes. This would be the 25 privilege.
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1 fifth document in this packet. 1 Do not get into what counsel told you. If
2 A. To Richard Frank from me? 2 you want to say on the advice of counsel, fine.
3. Q. Yes. Hold on. I might be counting wrong. 3 But what counsel said is attorney-client
4 A. Yeah. I'm on three pages. This is five 4 privilege.
5 right here. 5 And I'm going to assert the
6 MR. NORWOOD: No. He -- 6 attorney-client privilege on behalf of the City
7 THE WITNESS: He said five. 7 of St. Louis and direct the witness not to
8 MR. NORWOOD: Are you talking about the | 8 answer any questions in that regard or offer
9 third page? 9 any testimony in that regard.
10 Q. (ByMr. Schmitz) Hold on. Let me get it 10 MR. BLANKE: Is this a privilege that
11 right. Sorry. Yes, the letter to Jim -- we'll go 11 belongs to Ms. Green?
12 with the letter to Jim. 12 MS. HAMILTON: It belongs to the City of
13. +A. That's the one on the fifth page. 13 St. Louis.
14 Q. Right. Addressed to him from you dated 14 MR. NORWOOD: I'll join in that objection.
15 July 2. 15 MR. BLANKE: As to her privilege?
16 =A. Yes. 16 MR. NORWOOD: I'm joining in the City's
17. Q. Okay. Can you just read the first 17 _ objection to --
18 sentence of that paragraph? 18 MR. BLANKE: I'm asking, what is the
19 A. As of Monday, July 2, 2019, you are being 19 — objection? Is it an objection to whose
20 placed on an official forced leave pending a 20 —_ attorney-client privilege?
21 pretermination hearing. 21 MR. SCHMITZ: Are you objecting to my
22 QQ. Okay. So you would agree that a 22 question?
23 pretermination hearing was already presented as 23 MS. HAMILTON: Would you like to read back
24 early as July 2? 24 what I said?
25 A. That was the process. That's what it was 25 MR. SCHMITZ: I would like for it to be

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1 clear. 1 attorney-client privilege on behalf of the City
2 MR. BLANKE: Wait. Ms. Hamilton,[ know | 2 — of St. Louis and direct the witness not to
3 you were super clear. You said it was the 3 answer any questions in that regard or offer
4 City's objection. 4 any testimony in that regard.
5 I'm asking Mr. Norwood, you said you 5 MR. BLANKE: Just for the record, I want
6 joined in the objection. I'm asking as to your 6 to say that I think it's a mystery to me how
7 objection, is that an objection of 7 ~~ the City attorney can direct a person that's
8 attorney-client privilege for Ms. Green? 8 not her client to not answer questions. But
9 MR. NORWOOD: I agree with the City 9 you're doing the same thing, but you're also
10 counselor that any communication with counsel |10 saying it's a City objection.
11. ~~ would be privileged, and she should not be 11 MR. NORWOOD: It's an issue what is
12 required to answer those questions. And I'm 12 _ attorney-client privilege, right?
13 agreeing -- since I'm representing her 13 MR. BLANKE: Whose privilege?
14 __ personally, I'm agreeing as her lawyer to 14 MR. NORWOOD: She is here in her personal
15 _ follow the admonition to not answer questions 15 capacity. She is also taking actions in her
16 _— regarding any discussions with counsel. 16 _ official capacity. So technically she has two
17 MS. HAMILTON: Or offer any testimony in |17 attorneys here to the extent that she's here
18 that regard. 18 _ and to the extent that she's answering -- wait
19 MR. NORWOOD: Or inadvertently offering [19 aminute. To the extent she's answering
20 __ testimony in that regard, right. It's the 20 —_ questions that relate to her official duties
21 — City's privilege and only the City can waive 21 that would be subject to a privilege that
22 the privilege. 22 belongs to the City, she has every right to
23 MR. SCHMITZ: And that was my question. |23 object and instruct her not to answer.
24 MR. BLANKE: I'm sorry. 24 And to the extent her instruction not to
25 MR. SCHMITZ: No. My only question was, /25 answer isn't sufficient, my instruction would
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1 __ was the objection to my question or the answer 1 be. So we both are instructing her not to
2 that was given? 2 answer. But you can -- whichever one, you can
3 MR. NORWOOD: For the record, it doesn't 3 take hers or mine or both.
4 matter because to the extent that the witness 4 MR. BLANKE: But the Court has sustained
5 might inadvertently talk about discussions with 5 your motion to dismiss any claim based on
6 counsel, I think the proper objection is to 6 official capacity. And the only claims that
7 object at that time beforehand and instruct the 7 remain against her at this point are in her
8 witness not to answer any further. 8 personal capacity.
9 MR. SCHMITZ: I don't think it's not 9 MS. HAMILTON: And there are claims
10 relevant. I'm just trying to clarify for the 10 _—_ against the City of St. Louis.
11. record what the objection was to in particular. 11 MR. NORWOOD: But there are claims against
12 MS. HAMILTON: Would you like her to read 12 the City of St. Louis. And all of the actions
13. it back? 13. _—-we're talking about have nothing to do with
14 MR. SCHMITZ: No. I was asking you what 14 __ personal capacity.
15 your objection was to. That's all. 15 MR. BLANKE: Let's move on. I understand.
16 MS. HAMILTON: Do you want to read back my 16 =Q. (ByMr. Schmitz) So I asked you to read
17 _—_ objection, Madam Court Reporter. 17 from Page 5. And if you turn to the next page, you
18 THE COURT REPORTER: I'm going to object 18 see there's also a second letter addressed to Jim
19 to -- that those conversations are 19 Garavaglia dated July 2 from you. Do you see that?
20 _ attorney-client privilege. 20 =A. Yes.
21 Do not get into what counsel told you. If 21 Q. And those letters differ in some respect?
22 you want to say on the advice of counsel, fine. 22 <A. One has more clarity in terms of actions
23 But what counsel said is attorney-client 23 that were taken by Jim.
24 privilege. 24 Q. Do you know why those two -- there are two
25 And I'm going to assert the 25 different letters?

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1 A. Yes. 1 know who Ashley McClain is?

2 Q. Okay. Subject to your counsel's prior 2 A. With the Civil Service Commission.

3 objection, can you -- will you answer as to why you | 3. Q. Were you aware that a civil service

4 were -- 4 hearing had been scheduled as of July 11?

5 MR. NORWOOD: With the admonition thatto 5 =A. Based on the appeal that was filed.

6 the extent that the answer requires her to 6 Q. Well, did you receive notice, this same

7 reveal discussions with counsel. 7 notice -- and I'm going to ask you to just turn the

8 MR. SCHMITZ: Hence why I said subject to | 8 page to this Notice of Institution of Case and

9 that objection. I don't know what the answer 9 Hearing. Did you receive a copy of that from the
10_— is. 10 Commission?
11 MR. NORWOOD: I'm just trying to make sure} 11 A. Not personally, no.
12 the witness understands that. She shouldn't 12. Q. Okay. But were you made aware of it,
13 __ talk about specifics as to discussions with 13 then, at some point?
14 counsel, is all. 14 + A. Yeah.
15 So subject to that, to the extent you can 15 Q. So you were aware it was scheduled for
16 —_ answer, feel free to do so. 16 July 23?
17. A. Onadvice to give clarity. 17. +A. Idon't recall if I was aware at the time.
18 Q. (ByMr. Schmitz) All right. Do you know 18 Q. Allright. Related to his forced leave
19 which letter was sent? 19 and making your decision, after he was placed on
20 =A. Thadarecord of that. But right now at 20 forced leave on July 2, what did you do to assist
21 this point, I'm unclear. 21 you in making that determination? I can repeat the
22 QQ. Do you know what record that is if 22 question.
23 you're -- 23. ~A. Please do.
24 ~~ A. It would have been the postal record for 24 = Q. So relative to you making the decision as
25 the receipt. 25 what to do after he was placed on forced leave, Jim,

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1 MS. HAMILTON: I don't mean to interrupt
2 here, but I did try to make it clear in the

3 City's production, I'm not sure if it was,

4 which one actually went.

5 MR. SCHMITZ: I'm not disputing what was
6

7

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I mean, what actions or steps did you take to help
you in making that decision?

A. One of the things, that I spoke with
counsel.

Q. Okay. Did you do anything else? No need
to talk about what counsel said. We're going to not
talk about that.

A. I probably spoke once again to either

sent. I'm merely asking her if she has a
recollection as to which one was sent.
Q. (By Mr. Schmitz) Are you referring to
certified mail when you say you have a record?
10 A. Ibelieve there was delivery by certified
11 mail on an occasion, and then there may have been a
12 delivery by courier on an occasion.
13. Q. And you believe that was done to your

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Linda Thomas or the Director of Personnel. Those

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would have been the steps.

—_
—_

Q. Okay. If you skip forward a few more

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pages, you'll see a memorandum with Nancy Kistler,

_
we

with the City counselor's office, Ms. Morton, your

14 knowledge and understanding, that was done in 14 secretary, dated July 12, 2019.

15 addition to him being handed the forced leave 15 A. Yes.

16 document by Judy Armstrong? 16 Q. Are you familiar with this?

17 A. Ibelieve. 17. A. Yes.

18 Q. Okay. 18  Q. Okay. Who requested that she prepare

19 A. ButI'm not sure. 19 this?
20 Q. Do you know ifhe was handed the same 20 A. Counsel.
21 letter by Ms. Armstrong that was mailed to him? 21 = Q. Allright. All right. Can you

22 A. Ido not know.

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fast-forward, then, past those two documents to a

23. Q. Allright. Ifyou could skip forward a memorandum from you to Richard Frank dated July 15,
24 few pages -- it looks like two pages. It's an 2019. Do you see that?

25 e-mail addressed to me by Ashley McClain. Do you | 25 ~—A.._Is it dated July 15?

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Q. Yes. 2019.
MR. NORWOOD: You're saying a memo?
MR. SCHMITZ: Well, it doesn't use the
word "memorandum," but a letter, memo.
Q. (By Mr. Schmitz) Do you see that?
A. Yes.
Q. Wherein you asked that he be placed on
forced leave effective July 15, 2019?
A. Yes.
Q. Why did you request a forced leave on this
date?
MR. NORWOOD: Let me object. It assumes
facts not in evidence.
Subject to that, you can answer.
Q. (By Mr. Schmitz) Well, all I'm asking is
the document states: I am respectfully requesting

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have began a new forced leave from my understanding.

Q. Were you asking for an extension?

A. Iwas asking for forced leave.

Q. Did you believe it had already expired at
that time?

A. What the letter indicates is that I was
asking for forced leave.

Q. Well, I may have misunderstood your prior
response then. Did you ask for forced leave a
second time because you believed the previous forced
leave that had been granted had already expired?

A. Well, I'm going to defer again to advice
of counsel in the short period of time, July 2 to
July 15, then July 10, when I believe there was an
appeal filed by your office during those short few
days. Many things was happening. And the result of

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advice given regarding the letters.

Q. Allright. Notwithstanding advice of
counsel and what that may or may not have been, is
it your understanding you would need to request
forced leave again for an employee that was already
on forced leave?

A. Yes. Forced leave for my understanding

was limited to, I believe, 14 days. July 15 would

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17 you place Mr. James Garavaglia, a deputy comptroller 17 it is the second letter.
18 of Finance & Development, on official forced leave | 18 Q. Allright. If you could go forward to an
19 effective Monday, July 15. 19 e-mail on Wednesday, July 17, 2019. It's from Linda
20 Do you see that? 20 Thomas to Richard Frank. Have you ever seen this
21 A. Yes. 21 e-mail before?
22 Q. And it's addressed to Richard Frank on 22 ~A. Yes.
23 July 15? 23 = Q. Well, it's originally from Rick to Linda
24 A. Yes. 24 and then Linda responded, but.
25  Q. So were you requesting that he place him 25 MR. NORWOOD: I mean, just for the record,
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1 on forced leave on July 15? 1 ‘I think it's the other way around.
2 <A. Yes. 2 MR. SCHMITZ: You're right. Strike that.
3 Q. So again, my question was, why were you 3. Q. (By Mr. Schmitz) So it's from Linda Thomas
4 asking that he be placed on forced leave on July 15, | 4 addressed to Rick. And it says: I told the
5 2019? 5 comptroller to withdraw her request for forced leave
6 A. Because it had to do with an 6 on J.G.
7 investigation. 7 Do you have any recollection of Linda
8 QQ. Okay. Was he not already on forced leave 8 Thomas telling you to withdraw your request for
9 at that time? 9 forced leave?
10 A. Yes. 10 A. AsIstated before, I was in consultation
11 Q. Okay. Your reasons that you provide in 11 with Linda Thomas and the Director of Personnel
12 this letter, if you refer back to your request on 12 along with counsel during those periods of time
13 July 2, 2019, it does not appear to be different in 13 seeking direction.
14 any other way other than the dates. So were you 14 Q. Right. So I don't want you to answer
15 requesting forced leave for a different reason? 15 anything that involves counsel's advice or direction
16 =A. I would have had advice of counsel in the 16 or the content of those conversations, but this is
17 letters. So I would not be as clear today as to the 17 an e-mail where Linda Thomas is making a

representation to Richard Frank about something she
asked you.
So I'm asking you in that limited

capacity, do you recall her telling you to withdraw
her -- your request, excuse me, for forced leave?

A. Irecall seeking direction and Linda
giving me direction. The auditor -- state auditors
were in the Office of the Comptroller performing an

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1 audit. And I recall speaking to Linda about that. 1 A. Inever followed up. As the comptroller
2 The auditors had called within days 2 of the City, it was my responsibility to follow up
3 of Jim being placed on forced leave. The state 3 if, in fact, I wanted them to take further steps to
4 auditor specifically told me that she had read the 4 specifically audit the records surrounding those
5 paper and learned that Jim was on forced leave. And| 5 documents that were signed by Jim Garavaglia.
6 that she recognized he was a high-level employee. 6 Q. Okay. So you didn't ask -- just so I'm
7 And specifically she asked, do I have anything to 7 clear on your answer, you didn't ask and they did
8 worry about -- or do we have anything to worry 8 not do it; is that correct?
9 about? And at the time, I told her no, because I 9 A. That is correct.
10 didn't believe she did. That was within the 14 10 Q. Thank you. Ifyou could turn the page
11 days. 11 from that, you see there's a letter to Mr. Frank
12 After learning that there were 12 again dated July 18.
13 documents that were official City documents that 13. A. Yes.
14 were contracts and they were signed by Jim 14 Q. Okay. And again you're requesting he be
15 Garavaglia, within a few days later, I called that 15 placed on forced leave?
16 auditor back. And I said, I know you're in the 16 A. Yes.
17 office auditing and you are auditing contracts. We |17 Q. Did you then withdraw your original
18 have learned that there's a reason for you to be 18 request for forced leave as recommended by Linda
19 concerned. 19 Thomas?
20 They asked me to send them the 20 A. I believe that is the letter dated July 18
21 documents. And I did so. I sent the auditors the 21 to Richard Frank stating as such.
22 documents that had been signed by Jim Garavaglia. | 22 Q. Well, I see that you're requesting it.
23 And they told me that they would get back to me. 23 Just so I'm clear, had you already withdrawn your
24 Asked what they would do. And they said they would 24 prior requests dated July 2, had you actually
25 let me know. 25 withdrawn that request before you issued --
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1 So this would have been in a few 1 MR. NORWOOD: Let me object. You're
2 days. And then I discussed all of this with Linda 2 talking about July 18. And there are two
3 Thomas as to what to do now since this is coming to | 3 —_ July 18 letters. It looks like she's looking
4 the time we're going to have a hearing and all of 4 at one and you may be looking at the other. So
5 this. She let me know there's nothing wrong with 5 let's just make sure the record's clear as to
6 expending an investigation now that you heard from | 6 which July 18, 2019 letter we're talking about.
7 the auditors, now that they're involved. She said 7 MR. SCHMITZ: Well, it looks like it's the
8 those things in this e-mail, giving me instructions 8 same letter, but the second page has
9 on what I needed to do. 9 handwritten "approved" on it.
10 Q. Did the auditor ever present you with a 10 MR. NORWOOD: No, no.
11 report? 11 MS. HAMILTON: There are three July 18,
12. A. The auditors didn't get back to me ina 12 2019 letters.
13 timely manner. And I did take it upon myself to 13 MR. NORWOOD: There's a withdrawal letter
14 call to find out if, in fact, there was going to be 14 ~— dated July 18, 2019 that she's looking at now.
15 an audit performed. And I finally got an answer 15 MR. SCHMITZ: I wasn't asking her about
16 from the auditors that they were not going to audit 16 that in particular yet. I was asking if she
17 the documents that I sent, because they had a 17 recalls withdrawing it.
18 specific scope of work that they were interested in 18 A. Yes.
19 completing, which was fiscal year 2018. And those {19 Q. (By Mr. Schmitz) Okay. Now, back to that
20 documents are outside of their scope of work. And | 20 July 18. So you had withdrawn it or you wrote that
21 they said they would not be giving me any audit 21 letter requesting to withdraw it before you
22 report on that. And that answer came from them in, | 22 requested he be placed on forced leave again?
23 I believe, August. 23. A. Yes.
24 Q. Did they ever subsequently do an audit on 24 Q. Do you know how that second letter was

25 2019?

25 delivered to the one addressed to Jim notifying that

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1 he's being placed on forced leave as of July 18,
2 2019?
3 A. No. At this time, I don't recall.
4 Q. Okay. Ifyou could turn the page to an
5 e-mail, it appears to have come from your -- I might
6 be wrong about this. But it appears to come from
7 your e-mail address, but has Ms. Morton's signature.
8 It says "on behalf." So I'm assuming she -- well, I
9 shouldn't assume. Did she use your e-mail address

10 to send that?

11 ~A. Is this dated --

12) Q. July 18.

13. A. -- July 18, 3:24?

14 Q. Yeah. It just says 2:25, not 3:24. It's
15 an e-mail --

16 MR. NORWOOD: I think -- yeah, I think
17 __ we're looking at the same one. He's talking
18 ~—_ about --

19 <A. 3:24, This is 2:52, not 25.

20 = Q. (By Mr. Schmitz) So it's titled Letter to
21 James Garavaglia.

22 <A. I don't have that. I got revised request
23 letter.

24 = Q. Itshould be right after the July 18

25 letter that has "approved" handwritten on it.

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1 Ms. Morton on behalf of you, using your e-mail

2 address, wrote: Dear Mr. Frank, my apologies.

3 Please see attached revised letter.

4 Do you know why approximately 25

5 minutes after Mr. Frank was informed that a letter

6 had been hand delivered, she then sent a revised

7 letter?

8 A. From what I'm reading here, it states from

9 Richard Frank that he wrote: Thank you.
10 And he wrote: Could you also add
11 words "serious" and/or "fiscal" before improprieties
12 to strengthen and clarify.
13. Q. Right. I believe, unless I'm wrong,
14 that's in response to what Ms. Morton wrote prior to
15 that. Because what she wrote is time stamped 2:50.
16 + A. And two minutes later, he writes --
17. Q. And I'm going to get to that. My question
18 was not -- I don't want to confuse the issue. My
19 question was, do you know why Chana sent a revised
20 letter 25 minutes later before he responded two
21 minutes later? Because it appears there was a
22 letter delivered that was sent and then there's no
23 subsequent e-mail response that was provided to us
24 from Richard Frank, but yet Chana, 25 minutes later,
25 sent a revised letter. Do you know why there was a

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1 MR. NORWOOD: I see. There are two
2 ~~ ‘July 18 e-mails.
3 THE WITNESS: Oh, I have it now.
4 MR. NORWOOD: So we just want to make
5 sure. This e-mail and then there's the e-mail
6 acouple pages down. So which one should she
7 be looking at?
8 MR. SCHMITZ: Not the one that's 3:24 or
9 that's responding to 2:52.
10 MR. NORWOOD: He's talking about this one.
11 Q. @y Mr. Schmitz) It just says: Dear
12 Mr. Frank, please see attached copy of the letter

13 hand delivered today.
14. +~A. Yes, I see that.
15 Q. I'm just asking, does that refresh any

16 memory, that use of the term "hand delivered,” what
17 does that mean, if you know?

18 A. I would believe it was couriered today.

19 QQ. Okay. Now, I'm going to fast-forward to

20 the e-mail that you thought I was talking about.

21 The one that's the same date, but 3:24. And go down
22 the page at 2:52 -- or 2:50. Excuse me.

23 MR. BLANKE: Is this a time, 2:50 p.m.?

24 MR. SCHMITZ: Yes.

25 Q. (By Mr. Schmitz) On July 18, it looks like

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revised letter sent?

A. Ido not.

Q. Okay. Do you recall an e-mail or a phone
conversation with Rick or Linda requesting a revised
letter?

A. Ido not.

Q. Okay. Do you know if that revised
letter -- if you go to the page before that, do you
know if the page before that is the letter that --
the revised letter that Ms. Morton sent 25 minutes

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10

11 later?
12 It's just one page before the e-mail
13 we were just talking about, or the e-mail chain.

14 It's also dated July 18.

15. A. From what I'm looking at, I can't be sure.
16 Q. Allright. It doesn't contain the word

17 "serious" or "fiscal;" is that correct, from your

18 reading --

19 A. Correct.

20 Q. -- before impropriety?

21 Okay. Then if you go back to the

22 e-mail chain on the next page, Please see the

23 attached updated request from Chana -- is it Chana
24 or Shauna? I'm sorry.

25 A. Chana.

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1 = Q. Chana. My apologies. From Chana Morton, 1 Frank, July 18, 2019. That's why I'm saying,
2 with an updated request. We haven't received a copy 2 there's a letter to your client and a letter to
3 of that updated request. So I don't have that to 3 ‘Frank. So I think it's unfair to ask this
4 show you, but. 4 witness a question about a communication that
5 MR. NORWOOD: Well, what did you say now? 5 _was transmitted by her assistant to the
6 I'msorry. 6 Director of Personnel who it looks like had to
7 MR. SCHMITZ: We don't have a copy of the 7 weigh in on this thing.
8 updated request if there is one. 8 MR. SCHMITZ: It's possible she doesn't
9 MR. NORWOOD: Wait a minute. 9 know. So let's start there.
10 MR. SCHMITZ: I don't know that there even 10 MR. NORWOOD: Okay. Let's do that.
11 is one. 11 = Q. (ByMr. Schmitz) I mean, do you know when
12 MR. NORWOOD: That's what I'm trying to 12 Richard Frank is responding, can you add the word
13 _ figure out. Because are we talking about the 13 "serious" or "fiscal," do you know if he's referring
14 letter to your client, or are we talking about 14 to the request for forced leave or do you know if
15 the letter to Frank? That's what I'm trying to 15 he's referring to the letter --
16 make sure we're on the same page. That may be 16 =A. _It appears --
17. where the confusion lies. 17. Q. -- the notice of forced leave?
18 MR. SCHMITZ: I don't know. All it says 18 A. It appears that he might be referring to
19 is attached updated request. The witness may 19 the letter, but I don't know as I sit here and read
20 be the only one that can answer that question. 20 the letter. I see the word "improprieties." Before
21 And I don't know that she can. 21 that word, it says "some." I could look at the
22 MR. NORWOOD: But if you look at the 22 e-mail that Richard Frank wrote and make an
23 e-mail that follows that, I think that adds 23 assumption that he was referencing the letter.
24 some clarity. 24 Q. I'mnot asking you to do that. I'm not
25 MR. SCHMITZ: Right. She wrote attached 25 asking you to speculate. I'm asking if you have any
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1s updated request. I don't know if that means 1 actual knowledge.
2 request. That's part of what my questions are 2 A. Myknowledge at this moment in time, I do
3 going to be. For forced leave or if that means 3 not recall.
4  arevised letter that included the word 4 Q. Allright. Last question related to this
5 "serious" or "fiscal." So that's my question. 5 e-mail where Richard Frank writes: Thank you,
6 Q. (By Mr. Schmitz) Do you know, was there 6 Honorable Comptroller Green. Please be advised that
7 ever another letter prepared that added the word 7 effective immediately, I'm authorizing
8 "serious" and/or "fiscal" before impropricties? 8 Mr. Garavaglia to be placed --
9 MR. NORWOOD: Objection. I don't know. 9 THE COURT REPORTER: Slower, please.
10 When you're saying another letter, to whom; to 10 Q. (ByMr. Schmitz) I am authorizing
11 ‘Frank or to your client? That's what I'm 11 Mr. Garavaglia to be placed on forced leave pending
12 saying we need to get clear on what we're 12 your investigation.
13. talking about. 13 So was it at this point that he
14 MR. SCHMITZ: I don't think I can ask that 14 authorized Jim being placed on forced leave for a
15 —_ question the way that you're asking it without 15 second time?
16 __ the witness first answering. Because she 16 =A. Isee the second letter. You said you
17 ~—_ doesn't know if the prior letter, this one -- 17 didn't have it. It's right here. It says serious
18 she doesn't know if that's the letter that's 18 fiscal improprieties, July 18th to Richard Frank.
19 being referenced here. If it is, then 19 So those words are added to the letter that you said
20 obviously it would be a letter to Jim. If not, 20 you didn't have.
21 then I'm asking if she knows that too. 21 Q. Ididn't say I didn't have that. I said I
22 THE WITNESS: He's asking -- 22 didn't have a letter to Jim with those words in it,
23 MR. SCHMITZ: Maybe I can break this down! 23 so.
24 MR. NORWOOD: Let me make it easier for |24 A. That may not have been what Richard Frank
25 you. That language appears in a letter to 25 asked for.

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Q. Exactly. That was my question.

A. But he has it. Richard Frank has this
letter of what he asked for. Serious fiscal
impropriety, that's what's in the e-mail from
Richard Frank.

Q. Again I wasn't asking you to speculate.

A. But I'm not speculating now. I'm reading
here. I have two letters from Jim Garavaglia and
one to Richard Frank. The one to Richard Frank is
specifically here. And instead of it saying some
impropriety, it says some serious fiscal
improprieties, which is obvious that was written
after Mr. Richard Frank asked for Chana to write it.
And in both cases, I'm signing it. And these are my
original signatures.

Q. Allright. So are you saying that having
read that, it refreshes your recollection that that
was what Richard Frank was referring to is the
letter to him requesting --

A. What I'm saying, it looks clear to me as I
read it today. But if you're asking me to recall
three years ago specifically, I cannot do that. But
I can look here today in front of my eyes and read
where Richard Frank is asking for two words to be
added to a letter that would be sent to him. And I

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“Nah WN ©

18

NNWNNNN YE
Mb WNrFR OC

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1 59 minutes before Rick Frank sent that out. Was the
2 letter then hand delivered to Jim an hour before it
3 was approved by Richard Frank?
4 A. E-mail says: Mr. Frank, please see the
5 attached copy of the letter delivered today to
6 Mr. Garavaglia.
7 And that's the e-mail you're asking
8 me to answer. And it appears that this e-mail is
9 stating that a letter was delivered to
Mr. Garavaglia. So I would believe. Of course, I'm
not recalling, because I can't recall and was not
privy to the delivery personally. In other words, I
did not deliver it personally. But I can by this
e-mail have an understanding today. But that's not
your question, though.

Q. I think that's a fair answer.
And what was delivered, would you

agree, is the notice to Jim that he was being placed

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11
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19 on forced leave for a second time?

20 A. I would have the understanding it would be
21 the letter that was addressed to Jim Garavaglia.

22 Q. Right. But that provides notice he's

23 being placed on forced leave?

24 + A. And addressed to him as well.

25. Q. Okay. Other than counsel -- I want to

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can see clearly that that letter was prepared by my
assistant and signed by me and sent to Richard
Frank.

Q. Going back to the top portion of this
e-mail. Okay? I read it into the record already.

So I'm going to address it again briefly in that was
this the point in which the Director of Personnel
authorized Jim's placement on forced leave for a
second time?

A. Is it stated in the e-mail? Is that your
question? Is it stated?

Q. I'm asking you if that's when that
happened.

A. You're asking me about what somebody else
did? I want to be clear to understand your question
so I can answer it properly.

Q. Ifyou don't know, that's fine. My
18 question is, is that your understanding?

19 A. My understanding is that we received the

20 e-mail from Richard Frank, that he did authorize the
21 forced leave. So we did receive the authorization,
22 is what my understanding is.

23. Q. Allright. If you go back to the

24 letter -- sorry -- the e-mail that I addressed

25 earlier, again that is the one at 2:25 p.m. So

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1 make clear, I don't want you to answer that portion
2 of it -- did you have a discussion with anyone else
3 besides Linda Thomas and/or Richard Frank related to
4 this process?
5 A. No.
6 Q. No. Allright. I want to go back briefly
7 and then we can move on to -- I need to find it. So
8 just be patient with me, please -- an e-mail on
9 Wednesday, July 17. We've already discussed it
10 briefly.
11 MS. HAMILTON: Where are you? I'm sorry.

12 MR. SCHMITZ: The e-mail that we discussed
13 earlier from Linda Thomas to Rick Frank.

14 MS. HAMILTON: Okay.

15 MR. SCHMITZ: Wednesday, July 17, 2019 at
16 = -.2:35 p.m.

17. —_Q. (By Mr. Schmitz) I think these should have

18 had Bates stamps on them, but it's looking like they
19 got cut off. So I apologize for that, because that
20 would make it easier.

21 MS. HAMILTON: Well, let's make sure
22 ~~ everybody's there. It's right after the

23 certified mail slip.

24 MR. SCHMITZ: Yeah. It looks like a

25 photocopy of a green card, certified mail green

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1 card. It's the page directly after that. 1 Q. I just wanted to make sure that was still
2 MR. NORWOOD: Okay. I'm there. Are you | 2 the case after your attorney asked that question,
3.‘ there? Everybody's there. 3 so.
4 Q. (By Mr. Schmitz) So my question to you 4 So you were asking now for a 30-day
5 simply is, factually, do you have knowledge about 5 extension?
6 the last sentence which states to Rick: Wanted to 6 A. Yes.
7 get this to you while my mind is still fresh in what 7 QQ. Allright. Why did you ask this at this
8 I said, so people don't misquote me. And you know | 8 time?
9 who I mean. 9 A. Lasked for this extension and additional
10 Do you know personally who she's 10 time, because I had not heard from the auditor.
11 referring to? 11 Q. Allright. And why did you not seek or
12. A. No. 12 issue -- Strike that.
13. Q. No. Okay. Was that discussed at any 13 Why did you not issue a notice of
14 point with either Linda or Rick? 14 pretermination at this time?
15 A. No. 15 A. Lasked for this extension, because I had
16 Q. Okay. Allright. I'm going to go forward 16 not heard from the auditor. And I had preference --
17 again. I'm going to jump to August 12, 2019. 17 or preferred that I hear a response from the
18 First, there's an e-mail that says James Garavaglia, 18 auditor.
19 a 30-day extension. And then the next page after 19 Q. Did you believe at this point in time that
20 that has a letter dated August 12, 2019 from you 20 you had a sufficient basis to request termination?
21 addressed to Richard Frank. 21 A. Well, that wasn't my concern. My concern
22 Do you see what I'm talking about? 22 was to have a complete picture of the situation that
23 =A. Yes. 23 we had and have a complete picture of my problem.
24 Q. Okay. The attached -- the next page of 24 And I thought that with the auditor's input, I would
25 that letter is the letter that was attached to that 25 have more clarity and I would have more information.
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1 e-mail on August 12? 1 So I wanted to have the auditor's input. And so I
2 <A. Yes. 2 did discuss this with Linda Thomas and Richard
3. Q. Allright. And -- 3 Frank. And then this extension was requested. And
4 MR. NORWOOD: Just for the record, at 4 it was later rejected. But it was requested because
5 ___ least this one has a Bates stamp, I think we're 5 I wanted the information. And I had not heard back
6 talking about Garavaglia 344. Is that what 6 from the state auditors.
7 ~~ we're talking about? 7 Q. Had you made your decision as to whether
8 MR. SCHMITZ: Yeah, 344. The page before,| 8 or not you were going to seek termination?
9 the e-mail does not. 9 A. No. [had not made a decision.
10 MR. BLANKE: I think they all had Bates 10 Q. Allright. I'm going to fast-forward
11 stamped, but they got cut off. 11 to -- let me find it. It's near the end. It's a
12 MR. SCHMITZ: The ones that had the City | 12 letter dated August 28, 2019 from you to Richard
13. __— ones were probably a little bit lower and got 13 Frank.
14 __ cut off in the copying. 14 MR. NORWOOD: Towards the back. A little
15 MS. HAMILTON: It's hard to be sure about {15 __ bit further.
16 what's here, the way that these are labeled. 16 A. To Mr. Garavaglia?
17 MR. SCHMITZ: That's why I think we're 17. Q. (By Mr. Schmitz) No, no. This is to you
18 __ trying to be pretty clear for the record. This 18 from Director Frank.
19 is marked Garavaglia 344. 19 A. Director Frank? One page over. No. The
20 MS. HAMILTON: I don't think it's clear. 20 other way.
21 Q. (By Mr. Schmitz) Do you see where I'm 21 Q. Okay. Do you have it?
22 talking about, the letter? 22 A. Yes. [have the letter.
23 A. Yes. Isaid yes. 23 Q. Do you know or can you tell me why you
24 Q. Okay. 24 wrote this letter? Why did you withdraw your
25 <A. QOh,no. I said yes. 25 request for forced leave on August 28, 2019?

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